Case: 5:18-cv-00658-DCR-MAS Doc #: 122-31 Filed: 02/02/22 Page: 1 of 4 - Page ID#:
                                    1422

                                                                     Ex 28 - TR 213-216
Case: 5:18-cv-00658-DCR-MAS Doc #: 122-31 Filed: 02/02/22 Page: 2 of 4 - Page ID#:
                                    1423
Case: 5:18-cv-00658-DCR-MAS Doc #: 122-31 Filed: 02/02/22 Page: 3 of 4 - Page ID#:
                                    1424
Case: 5:18-cv-00658-DCR-MAS Doc #: 122-31 Filed: 02/02/22 Page: 4 of 4 - Page ID#:
                                    1425
